




Dismissed and Memorandum Opinion filed January 29, 2009








Dismissed
and Memorandum Opinion filed January 29, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-01041-CV

____________

&nbsp;

MINDOH!, L.L.C.,
Appellant

&nbsp;

V.

&nbsp;

DOT WOODFIN,
Appellee

&nbsp;



&nbsp;

On Appeal from the 333rd District
Court

Harris County ,
Texas

Trial Court Cause No.
2005-76394

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This
appeal is from a judgment signed August 1, 2008.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On
December 19, 2008, notification was transmitted to all parties of the court's
intent to dismiss the appeal for want of prosecution unless, within fifteen
days, appellant paid or made arrangements to pay for the record and provided
this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant
has not provided this court with proof of payment for the record. Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Panel consists of Justices Frost, Brown, and Boyce. 

&nbsp;





